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                                                                                CLERKS OFFICE U.S. DIST. COURT
                                                                                   AT CHARLOTTESVILLE, VA
                                                                                          FILED
                               UNITED STATES DISTRICT COURT                         01/22/2020
                               WESTERN DISTRICT OF VIRGINIA                        JULIA C. DUDLEY, CLERK
                                     CHARLOTTESVILLE DIVISION                      BY: /s/ J. JONES
                                                                                       DEPUTY CLERK
    ELIZABETH SINES, et al.,
                                                       CASE NO. 3:17-cv-00072
                                      Plaintiffs,

                          v.                           ORDER

    JASON KESSLER, et al.,
                                                       JUDGE NORMAN K. MOON
                                      Defendants.



         This matter is before the Court on Plaintiff Hannah Pearce’s “Motion to Withdraw and

  Voluntarily Dismiss Her Claims Without Prejudice,” filed on January 7, 2020. Dkt. 629. On

  January 10, 2020, this Court entered an Order directing any party wishing to be heard on this

  Motion to file their response by January 16, 2020. Dkt. 636. No responses were filed.

         Finding the relief requested appropriate, this Court hereby GRANTS Plaintiff Hannah

  Pearce’s Motion (Dkt. 629), and DISMISSES Plaintiff Hannah Pearce’s claims without prejudice,

  pursuant to Fed. R. Civ. P. 41(a)(2).

         It is so ORDERED.

         The Clerk of the Court is directed to send a certified copy of this Order to the parties.

         Entered this 22nd day of January, 2020.
